        Case 1:22-cr-00170-DMT            Document 266     Filed 05/20/24      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER GRANTING MOTION TO AMEND
                                      )       RELEASE CONDITIONS
        vs.                           )
                                      )
Kevin Duane Douglas Fossen,           )       Case No. 1:22-cr-170
                                      )
               Defendant.

        On April 17, 2024, the court issued an order an order conditionally releasing Defendant to

Providence House for inpatient treatment. (Doc. No. 242). On May 17, 2024, Defendant filed a

Motion to Amend Release Conditions. (Doc. No. 261). Advising that he has completed inpatient

treatment, he requests that the court modify his release conditions to allow him to transition to a

sober living facility associated with Providence House.

        On May 20, 2024, the court issued an order (Doc. No. 264) stating that it was deferring its

ruling on Defendant’s motion pending receipt of additional information the sober living facility at

which he was proposing to reside.

        On May 20, 2024, Defendant filed a supplement to his motion advising that arrangements

had been made for him to reside at Endeavor Sober Living in Arnegard, North Dakota. (Doc. No.

265).

        In light of the additional information provided by Defendant, the court GRANTS his Motion

to Amend Release Conditions (Doc. No. 261) and modifies his release conditions as follows. Upon

his discharge from Providence House, he shall transition to and reside at Endeavor Sober Living,

comply with its rules and regulations, and participate in its programming. He shall not change this

residence without the prior permission of the Pretrial Services Office. He remains subject to all


                                                 1
       Case 1:22-cr-00170-DMT          Document 266       Filed 05/20/24      Page 2 of 2




other conditions of release previously imposed. If he is terminated from Endeavor Sober Living for

any reason, he shall surrender to the custody of the United States Marshal.

       IT IS SO ORDERED.

       Dated this 20th day of May, 2024.

                                                    /s/ Clare R. Hochhalter
                                                    Clare R. Hochhalter, Magistrate Judge
                                                    United States District Court




                                                2
